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                       UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________

MICHAEL MILLER,                     :
                  Plaintiff,        :
                                    :
            v.                      :                 No. 5:24-cv-5338
                                    :
COUNTY OF LANCASTER,                :
TAMMY BENDER,                       :
JACQUELINE PFURSICH,                :
JOSHUA PARSONS, RAY D'AGOSTINO, :
and CHRISTA MILLER,                 :
                  Defendants.       :
_____________________________________

                                             ORDER
       AND NOW, this 18th day of March, 2025, upon consideration of Plaintiff’s Motion for

Recusal, filed March 16, 2025, ECF No. 41; IT IS HEREBY ORDERED THAT:


    1. The Motion, ECF No. 41, is DENIED.1



1
        Plaintiff asks Judge Leeson to recuse himself from this matter pursuant to 28 U.S.C. §
455(a) and (b)(1), on the basis of lack of impartiality and personal bias or prejudice, respectively.
As support for this argument, Plaintiff alleges that the Court, in its Opinion dated March 6, 2025,
ECF No. 35, “threatened Plaintiff with sanctions.” This is untrue. At no point does the Opinion
suggest an intention to issue sanctions against any party at this time. All eleven mentions of the
word “sanctions” in the Opinion are used in its analysis of Plaintiff’s retaliation claim, in which
he argues that Defendants retaliated against him by filing a sanctions motion in a prior action in
the District Court for the Middle District of Pennsylvania. Moreover, no party has moved for
sanctions in the instant case, and the Court has not yet had occasion to issue sanctions in this case
pursuant to statute, rule, or the Court’s inherent power. See Fegely v. Portfolio Recovery
Associates LLC, No. 5:23-CV-4909, 2024 WL 4608186, at *2 (E.D. Pa. Oct. 28, 2024) (citing
Chambers v. NASCO, Inc., 501 U.S. 32, 50 (1991); In re Prudential Ins. Co. America Sales
Practice Litigation Agent Actions, 278 F.3d 175, 189 (3d Cir. 2002)).
        Plaintiff further alleges that the Court, in its March 6 Opinion, engaged in “improper
judicial fact-finding” in its analysis of subject matter jurisdiction under Fed. R. Civ. P. 12(b)(1),
by conducting an “independent review of Plaintiff’s state litigation.” However, the Court
dismissed Plaintiff’s Counts V and VI for lack of subject matter jurisdiction insofar as they were
based on Plaintiff’s “Treatment Under RTKL”—a claim which federal courts are barred from
deciding. See N'Jai v. Floyd, 386 F. App'x 141, 143 (3d Cir. 2010) (referencing Capital Cities
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                                                      BY THE COURT:



                                                      /s/ Joseph F. Leeson, Jr.__________
                                                      JOSEPH F. LEESON, JR.
                                                      United States District Judge




Media, Inc. v. Chester, 797 F.2d 1164, 1176–77 (3d Cir. 1986)). To the extent Plaintiff argues this
to be a “mischaracterization” of Counts V and VI, the Court has also independently analyzed
them under Fed. R. Civ. P. 12(b)(6), as properly pled Equal Protection claims. See Opinion, ECF
No. 35, 37-38.
         Plaintiff also accuses the Judge of “systematic favoritism” toward the Defendants,
believing every ruling thus far to have favorited Defendants’ interests. Yet “judicial rulings alone
almost never constitute a valid basis for a bias or partiality motion.” Robinson v. Horizon Blue
Cross Blue Shield of New Jersey, 674 Fed. Appx. 174, 179 (3d Cir. 2017) (unpublished) (quoting
Liteky v. United States, 510 U.S. 540, 555 (1994)). The Court reiterates that the unpredictable
outcome of motions practice is not evidence of bias or unfair motive. See Opinion, at 33 n.20. As
an aside, the Court notes that it declined to dismiss all of Plaintiff’s claims with prejudice and
granted Plaintiff the opportunity to file an amended complaint. See ECF No. 36.
         Lastly, Plaintiff argues that the Court, in its March 6 Opinion, applied a “summary
judgment standard” to the Motion to Dismiss, and “improperly used Plaintiff’s own exhibits
against him.” In considering a motion to dismiss, a court may consider “a document [that] is
‘integral to or explicitly relied upon in the complaint . . . without converting the motion to dismiss
into one for summary judgment’ under Rule 56.” Doe v. Princeton U., 30 F.4th 335, 342 (3d Cir.
2022) (quoting Doe v. Univ. of Scis., 961 F.3d 203, 208 (3d Cir. 2020) (quoting In re Burlington
Coat Factory Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997))). The Court already acknowledged
that Plaintiff’s Amended Complaint explicitly referenced and relied upon several exhibits, which
were not attached, but were filed with the Court as exhibits to the original Complaint. See
Opinion at 26-27 n.16. As a result, it found that any reference to the Complaint’s exhibits, insofar
as the Amended Complaint expressly sought to reference them, was proper and did not exceed the
Rule 12(b)(6) standard of review: “The Court also finds that the references in the Amended
Complaint serve to incorporate these exhibits into the pleadings under current review. For these
reasons, the Court finds it in accordance with the standard of review under Fed. R. Civ. P.
12(b)(6) to consider the exhibits to the Complaint.” See id. The Court maintains that thoughtful
consideration was paid to the arguments of both parties, and that the Judge has not exhibited
partiality towards any party, nor personal bias or prejudice. Recusal on this basis is unwarranted.
